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IN THE UNITED STATES DI'STRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

LISA MONTALVO and MICHAEL
MONTALVO, wife and husband, and : CIVIL ACTION LAW
AMANDA LINDSEY MONTALVO,
Plaintiffs,

V.
DAVID PLAZA, individually,
NELSON L. SIMS, JR., individually,
and N. L. SIMS JR TRUCKING LLC,'

JURY TRIAL DEMANDED
Defendants.

COMPLAINT _
AND NOW COME, Plaintiffs \Lisa Montalvo, Michael Montalvo; and

Amanda Lindsey Montalvo, by and through their undersigned counsel, Srnigel,
Anderson & Sacks, LLP, and file the Within Cornplaint and aver the following in

Support:

 

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PARTIES

l. 7 Plaintiffs, Lisa Montalvo (“Lisa”) and Michael Montalvo (“Michael”)
Wife and Husband, are adult individuals With an address of 9484 Carlisle Road,
Dillsburg, PA 17019.

2. Plaintiff, Amanda Lindsey Montalvo (“Amanda”), is an adult
individual With an address of 9484 Carlisle Road, Dillsburg, PA 17019. Lisa,
Michael, and Amanda may sometimes be collectively referred to as “Plaintiffs.”

3. Defendant, David Plaza (“Plaza”), is an adult individual With an address
of 414 Parkridge Avenue, Orange Park, FL 32065.

4. Defendant, Nelson L. Sirns, Jr., (“Sirns”) is an adult individual With an
address of 1391 Stone Chapel Road, NeW Windsor, MD 21776.

5. Defendant, N. L. Sims Jr Trucking LLC, (“N L Sirns, LLC”) is a
Maryland limited liability company, vvith a mailing address of 2410 W. Memorial
Road, Ste. C533, Oklahoma City, OK 73134, and a physical address of 1391 Stone

Chapel Road, Nevv Win`dsor, MD 21776.

 

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JURISDICTION AND VENUE

6. This Court has diversity jurisdiction over this matter because the
Plaintiffs and Defendants share complete diversity and the amount in question
exceeds $75,000.00.

7. Venue in this Court is proper because it is where the accident in
question occurred.

lfACTS

8. On or about September 17, 2015, Lisa was operating a 2013
Volkswagen J etta (hereafter the Montalvo vehicle) on US Route 15 South in Upper
Allen Township, Cumberland County, PA.

9. On or about the same time, Plaza Was operating a tractor trailer,
Kenworth Model #W900, which was owned by N L Sims, LLC or Sims, at the time.

10. lt is believed and therefore averred that Plaza was an employee of N L
Sirns, LLC, and/or by Sims, at said time.

11. At around 1108 p.m., Plaza was traveling in the left lane and the
Montalvo vehicle was traveling in the right lane, With Lisa as the driver.

12. At said time, Plaza and the Montalvo vehicle were next to one another,
when the Plaza tractor trailer negligently moved into the right lane at Which time

Plaza struck the Montalvo vehicle.

 

 

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13. As a result of Plaza striking the Montalvo vehicle, the Montalvo vehicle
was forced in front of Plaza"s vehicle and crashed into the median strip of US Route
15 South.

14. _ lt is believed and therefore averred that Plaza fell asleep while operating
the tractor trailer.

15. The Montalvo vehicle then continued to skid down US Route 15 South
after making_impact with the median strip. 7

16. As a result of Plaza’s negligence, Lisa was injured in the crash and was
transported to Holy Spirit Hospital via ambulance

17. Lisa’s injuries from the accident included, inter alia, a eoncussion, rib
fractures, facial lacerations, disc bulges in her thoracic spine,- and a right breast
capsular rupture.

18. Plaintiffs believe and therefore aver that Plaza wasl driving carelessly
and recklessly when he moved into the right lane when it was not safe to do so.

19. Plaintiffs believe and therefore aver that Plaza Was driving carelessly
and recklessly when he struck the Montalvo vehicle.

COUNT I - NEGLIGENCE
Lisa Montalvo v. Pla_za_

20. Plaintiffs hereby incorporate all facts and allegations set forth above.

 

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21.

times:

22.

that he:

23.

Plaza, as the driver of the truck and semi-trailer, had a duty to at all _

. Exercise the ordinary care required of motorists while driving;

. Have the vehicle under such control that it could be stopped before

causing injury to any person or damage to` any property; and

. Drive in a safe and reasonable manner as a prudent person would under

the circumstances

Plaza breached his duties and his actions were negligent and reckless in

. Failed to safely merge into the right lane.
. Failed to have his vehicle under proper and reasonable control;

. Failed to maintain a proper lookout and to observe what was occurring

next to and around his vehicle; and

. Failed to operate the brakes in such a manner so that the truck and

attached semi-trailer could be slowed in time to avoid a collision with
the Montalvo vehicle.

Solely as a direct and proximate result of the negligent and reckless acts

of Plaza, Lisa sustained the following serious injuries, all of which are or may be of

a permanent nature, and required medical treatment including physical and cognitive

therapy:

 

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a. concussion;
b. rib fractures;
c. facial lacerations;
d. disc bulges in her thoracic spine;
e. a right breast capsular rupture; and
f. Severe and frequent headaches;
24. By further reason of the Plaza’s truck and attached semi-trailer striking
the Montalvo vehicle, Lisa has been damaged as foll'ows:
a. She has been afflicted with severe pain, suffering, and inconvenience;
b. She has suffered a loss of life’s pleasures;
c. She has been forced to miss work, causing her to lose compensation;
d. She has and Will continue to be required to spend money for medicine,
therapy, and medical care; and
e. She has and will continue to be limited in her normal activities
25. Plaza’s negligence was the actual and proximate cause of Lisa’s
injuries
26. But for Plaza’s negligence, Lisa would not have been injured
WHEREF()RE, Plaintiffs respectfully demand judgment against the
Defendant Plaza in an amount in excess of $75,000.{)0, plus the cost of this action

and any other relief that this Honorable Court may deem just and proper.

 

 

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COUNT II - VICARIOUS LIABILITY
Plaimifjs v. NL sims, LLC

27. Plaintiffs hereby incorporate all facts and allegations set forth above.

28. N. L. Sims Jr Trucking LLC is a Maryland limited liability company
that is not in good standing and has forfeited its status as a limited liability l
company in Maryland.

29. At the time of this accident, Plaza was employed by N. L. Sims Jr
Trucking LLC. ,

30. Plaza’s conduct of driving the tractor trailer at the aforesaid time and
place is of a kind and nature that Plaza was employed to perfonn.

31. The accident occurred while Plaza was driving for N L Sims ‘L'LC
and was acting within.the scope and course of his employment with N L Sims
LLC.

32. Plaza’s conduct of - driving the tractor trailer was actuated and driven
by a duty and desire to serve N L Sims LLC.

WHEREFORE, _ Plaintiffs respectfully demand judgment against the

Defendant N L Sims, LLC, in an amount in excess of $75,000.00, plus the cost of

this action and any other relief that this Honorable Court may deem just and proper.

 

 

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COUNT III - VICARIOUS LIABILITY
Pl¢rimt'j%1 v. Sims

33. Plaintiffs hereby incorporate all facts and allegations set forth above.

34. N. L. Sims Jr Trucking LLC is a Maryland limited liability company
that is not in good standing and has forfeited its status as a limited liability
company in Maryland

35. Because N. L. Sims Jr Trucking LLC has forfeited its status as a
. limited liability company, N. L. Sims Jr. Trucking LLC has been acting as a sole
proprietorship owned and operated by Defendant NelsonL. Sims, Jr.

36. At the time of this accident, Plaza was employed by Sims.

37. Plaza’s conduct of driving the tractor trailer at the aforesaid time and
place is of a kind and nature that Plaza was employed to perform.

38. The accident occurred while Plaza was driving for Sims and was
acting within the scope and course of his employment With Sims.

39. Plaza’s conduct of driving the tractor trailer was actuated and driven
by a duty and desire to serve Sims.

WHEREFORE, Plaintiffs respectfully demand judgment against the
Defendant Sims in an amount in excess of $75,000.00, plus the cost of this action

and any other relief that this Honorable Court may deem just and proper.

 

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COUNT IV - LOSS OF CONSORTIUM
Michael Mo'ntalvo v. Plaza, Sims and N.L. Sims .IR Trucking, LLC

40. Plaintiffs incorporate all facts and allegations set forth above.

41. As a result of the negligent, careless, and reckless conduct of the
Defendants, Michael Montalvo has suffered a loss of consortium.

WHEREFORE, Plaintiffs respectfully demand judgment against the
Defendant Sims in an amount in excess of $75,000.00, plus the cost of this action
and any other relief that this Honorable Court may deem just and proper.

COUNT V - NEGLIGENCE

Amanda Lindsey Montalvo v. Plaza, Sims and N.L. Sims JR
Trucking, LLC

43. Plaintiffs incorporate all facts and allegations set forth above.

44. As a result of the negligent, careless, and reckless conduct of the

 

. Defendants, Amanda Lindsey Montalvo has suffered significant personal injuries

incl'uding, without limitation, head injuries, headaches, back pain, and bruising.
WHEREFORE, Plaintiffs respectfully demand judgment against the

Defendant Sims in an amount in excess of $75,000.00, plus the cost of this action

and any other relief that this Honorable Court may deem just and proper.

 

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Respectfully submitted,
sMIGEL, ANDERsoN & sAcKs, LLP

Date: `September 8, 2017 By: s/ Jefi%rson l Shipman, Esquire
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